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 1    Lauren M. Hausman (CA Bar No. 349514)
      COPYCAT LEGAL PLLC
 2    113 N San Vicente Blvd
      Suite 232
 3    Beverly Hills, CA 90211
      T: (877) 437-6228
 4    E: lauren@copycatlegal.com
 5    Attorney for Plaintiff
      ELIZABETH WATERMAN
 6

 7

 8                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9

10    ELIZABETH WATERMAN,                           Civil Action No. 2:24-cv-04802-SRM-
                                                    AJR
11          Plaintiff,
12
                                                    NOTICE OF MOTION AND
      v.                                            MOTION TO COMPEL 30(B)(6)
13                                                  DEPOSITION OF TIKTOK, INC.
      TIKTOK, INC.,                                 AND EXTEND THE DISCOVERY
14                                                  CUT-OFF FOR THE LIMITED
            Defendant.                              PURPOSE OF COMPLETING
15
                                                    DEFENDANT’S        30(B)(6)
16                                                  DEPOSITION

17                                                  DISCOVERY MATTER
18                                                  (OPPOSED)
19
                                                    DATE: June 11, 2025
20                                                  TIME: 1:30 p.m.
                                                    JUDGE: A. Joel Richlin
21

22

23

                                                1
                                      COPYCAT LEGAL PLLC
                   113 N. SAN VICENTE BLVD., SUITE 232 • BEVERLY HILLS, CA 90211
                                     TELEPHONE (877) 437-6228
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 1             PLEASE TAKE NOTICE that, Plaintiff Elizabeth Waterman (“Plaintiff”)
 2
      respectfully moves the Court for an order granting her Motion to Compel a 30(b)(6)
 3
      deposition of a corporate representative of defendant TikTok, Inc. (“Defendant”)
 4
      and extend the discovery cut-off date for the limited purpose of completing
 5
      Defendant’s 30(b)(6) deposition and, in support thereof, states as follows:
 6

 7             1.     Plaintiff sought discovery in which she is rightfully entitled to – a

 8    30(b)(6) deposition of Defendant’s corporate representative(s).
 9
               2.     Discovery in this matter closes on May 16, 2025.
10
               3.     On May 2, 2025, undersigned counsel requested that counsel for
11
      Defendant provide dates for which Defendant would be available for a 30(b)(6)
12
      deposition. See Exhibit “A”.1
13

14             4.     Plaintiff’s May 2, 2025, email went unanswered. Accordingly,

15    undersigned counsel followed up with defendant’s counsel on May 5, 2025. See
16
      Exhibit “B”. 2
17
               5.     On May 5, 2025, Defendant’s counsel informed undersigned that he
18

19

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22    1
               Portions of Exhibit “A” that are either irrelevant or privileged are redacted from the
      email.
23    2
               Portions of Exhibit “B” that are either irrelevant or privileged are redacted from the email.
                                                        2
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 1    was waiting for a response from his client. See Exhibit “C”.3
 2
               6.     On May 7, 2025, undersigned counsel again requested Defendant’s
 3
      counsel provide dates for a deposition. See Exhibit “D”.4
 4
               7.     Further, in the May 7, 2025 email requesting a deposition date,
 5
      undersigned served the 30(b)(6) deposition notice. See Exhibit “D”. The notice
 6

 7    was provided without a set date or time, as Defendant’s counsel had yet to provide

 8    one.
 9
               8.     Undersigned counsel emailed on May 8, 2025, reiterating its request
10
      for a deposition date for Defendant. See Exhibit “E”. 5
11
               9.     Defendant’s counsel informed undersigned that, as of May 8, 2025
12
      (despite being requested six days prior), no lawyer on behalf of Defendant had
13

14    conferred with Defendant regarding availability for a 30(b)(6) deposition. See

15    Exhibit “F”. 6
16
               10.    Undersigned responded that, as Plaintiff could extend the professional
17
      courtesy (as well as obligation) to produce their client, undersigned expected the
18

19

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      3
21             Portions of Exhibit “C” that are either irrelevant or privileged are redacted from the email.
      4
               Portions of Exhibit “D” that are either irrelevant or privileged are redacted from the
22    email.
      5
               Portions of Exhibit “E” that are either irrelevant or privileged are redacted from the email.
23    6
               Portions of Exhibit “F” that are either irrelevant or privileged are redacted from the email.
                                                        3
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 1    same of Defendant’s counsel. See Exhibit “G”.7
 2
               11.    Undersigned asked yet again for a deposition date on May 9, 2025.
 3
      See Exhibit “H”. 8 No response was ever provided to this email.
 4
               12.    While it is not generally in undersigned’s practice to unilaterally set a
 5
      deposition, as it does not extend a professional courtesy to opposing counsel or the
 6

 7    deponent who may be unavailable, an exception was thus made in this case as

 8    Defendant and its counsel consistently failed to provide availability—despite the
 9
      request for availability being made six times. See Exhibit “I”. 9
10
               13.    On May 12, 2025, Defendant’s counsel was provided the Zoom link
11
      for the 30(b)(6) deposition, which was set for May 14, 2025. See Exhibit “J”.10
12
               14.    On May 13, 2025, Defendant’s counsel served Defendant’s objections
13

14    to Plaintiff’s 30(b)(6) notice. See Exhibit “K”. In short, Defendant has refused to

15    appear at a 30(b)(6) deposition.
16
               15.    Counsel for Plaintiff and Defendant met and conferred to see if the
17

18

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      7
               Portions of Exhibit “G” that are either irrelevant or privileged are redacted from the
21    email.
      8
               Portions of Exhibit “H” that are either irrelevant or privileged are redacted from the
22    email.
      9
               Portions of Exhibit “I” that are either irrelevant or privileged are redacted from the email.
23    10
               Portions of Exhibit “J” that are either irrelevant or privileged are redacted from the email.
                                                        4
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 1    issues raised in Defendant’s objections could be resolved. During the meet and
 2
      confer, undersigned proposed to Defendant’s counsel a few solutions including:
 3
      (1) Defendant proffering more than one representative, (2) leeway on if the
 4
      corporate representative was not fully prepared, 11 and/or moving the deposition
 5
      back to May 16, 2025—which is the absolute latest date that the deposition could
 6

 7    occur under the current scheduling order.

 8           16.     While Defendant claims that it was not given adequate time to object
 9
      to the scope of any of the deposition topics, Defendant has not only been aware of
10
      the topics since May 7, 2025, but also would have been aware of the topics
11
      significantly sooner had Defendant acted in good faith and provided its availability.
12
      Plaintiff further notes that the deposition topics did not change from the notice that
13

14    was provided on May 7, 2025 to the notice that was provided May 12, 2025 (but

15    for the date and time being added to the latter).
16
             17.     Ultimately, despite Plaintiff requesting availability numerous times,
17
      Defendant gave Plaintiff the run around and never provided a date.
18

19

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21
      11
              See Novitzky v. TransUnion LLC, No. 2:23-cv-04229-SPG-MAR, 2025 U.S. Dist.
22    LEXIS 90160, at *21–22 (C.D. Cal. May 12, 2025) (“[W]hile Rule 30(b)(6) requires a good faith
      effort on the part of the designate [sic] to find out the relevant facts—to collect information,
      review documents, and interview employees with personal knowledge," the rule does not require
23
      absolute perfection in preparation.”) (internal quotations omitted) (cleaned up).
                                                     5
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 1          18.    Because Defendant never answered, a deposition is no longer able to
 2
      be taken. Defendant, just as Plaintiff, has been aware of the discovery cut-off date.
 3
      It seems somewhat suspect that Defendant failed to provide dates and that its
 4
      counsel failed to confer with it for numerous days. Defendant’s bad faith should
 5
      not be tolerated.
 6

 7          19.    Where an opposing party has acted unfairly, it should not be rewarded

 8    for such behavior. In this matter, Defendant failed to ever provide its availability
 9
      for a 30(b)(6) deposition, despite Plaintiff requesting a date numerous times.
10
            20.    Consequently, Plaintiff’s eleventh-hour motion should be granted
11
      where, as here, Defendant ran out the clock.
12
            21.    Should the Court be gracious enough to grant Plaintiff’s Motion to
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14    Compel Defendant’s 30(b)(6) deposition and extend the discovery cutoff for the

15    limited purpose of taking Defendant’s 30(b)(6) deposition, Defendant would not
16
      be prejudiced.
17
            22.    “Although the existence or degree of prejudice to the party opposing
18
      the modification might supply additional reasons to deny a motion, the focus of the
19
      inquiry is upon the moving party’s reasons for seeking modification.” Landes v.
20
      Skil Power Tools, No. 2:12-cv-01252-MCE, 2013 U.S. Dist. LEXIS 181426, 2013
21
      WL 6859837, at *3 (E.D. Cal. Dec. 30, 2013). Plaintiff’s reason for seeking
22

23    modification is so that Plaintiff can conduct a 30(b)(6) deposition of Defendant’s

                                                6
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 1    corporate representative whereby counsel is now refusing to produce Defendant in
 2
      the eleventh hour.12
 3
             23.    This Circuit has pointed to four factors for the Court to consider when
 4
      determining if a scheduling order should be modified: (1) the degree of prejudice
 5
      to the moving party from a failure to modify; (2) the degree of prejudice to the
 6

 7    nonmoving party from a modification; (3) the impact of a modification at that stage

 8    of the litigation on the orderly and efficient conduct of the case; and (4) the degree
 9
      of willfulness, bad faith or inexcusable neglect on the part of the moving party. See
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      United States v. First Nat. Bank of Circle, 652 F.2d 882, 887 (9th Cir. 1981).
11
             24.    The degree of prejudice to the moving party from a failure to modify
12
      is significant. Plaintiff should be able to take a deposition that she is entitled to.
13

14    Plaintiff was willing to make herself available on relatively short notice (e.g., a

15    total of fourteen days), so it is a bit surprising that Defendant is unwilling to extend
16
      the same courtesy.
17
             25.    The degree of prejudice to the nonmoving party is negligible. Plaintiff
18
      is not seeking to reopen all discovery. Plaintiff merely requests that the discovery
19

20

21

22    12
              While undersigned counsel anticipates that Defendant will point out to the Court that
      Plaintiff could have unilaterally set a deposition as Defendant did, just because something can
23
      be done does not make it proper.
                                                    7
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 1    cut-off date be extended until a date in which Defendant will produce a corporate
 2
      representative, 13 and that discovery remain open for the limited and sole purpose
 3
      of taking Defendant’s 30(b)(6) deposition. Plaintiff is not proposing that any
 4
      additional discovery be conducted beyond the single deposition.
 5
             26.     The impact of modification of the scheduling order at this stage of
 6

 7    litigation would be minimal and have little impact on conducting this matter in an

 8    orderly and efficient manner. The parties have not moved into active dispositive
 9
      motion practice nor has mediation (which Plaintiff already informed Defendant it
10
      wanted to engage in) occurred.
11
             27.     The degree of willfulness, bad faith, or inexcusable neglect on the part
12
      of Plaintiff is minute. Plaintiff has been actively seeking confirmation of
13

14    availability from Defendant, but those requests have been ignored. While Plaintiff

15    does not wish to cast aspersions on Defendant, it would seem more apropos to note
16
      that Defendant’s failure to provide availability and inform counsel of its refusal to
17
      attend a deposition the day before it was scheduled to occur—with no time to set a
18
      different date—is more akin to bad faith.
19

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      13
             Plaintiff proposes that the Court require Defendant to make itself available within thirty
23    (30) days of entry of an Order granting this Motion.

                                                      8
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 1          28.    Accordingly, Plaintiff requests that this Court compel the appearance
 2
      and testimony of a 30(b)(6) corporate representative of Defendant, as well as
 3
      extend the discovery cut-off date for the limited purpose of completing the 30(b)(6)
 4
      deposition of Defendant’s corporate representative(s).
 5
                                         CONCLUSION
 6

 7          For the foregoing reasons, Plaintiff respectfully requests that the Court enter

 8    an Order: (a) compelling the appearance and testimony of a 30(b)(6) corporate
 9
      representative of Defendant; (b) extending the discovery cut-off date for the limited
10
      purpose of completing the 30(b)(6) deposition of Defendant’s corporate
11
      representative(s); and, (c) for such further relief as the Court deems proper.
12

13

14                           LOCAL RULE 7.3 CERTIFICATE

15          Before filing this Request, undersigned counsel conferred with counsel for
16
      Defendant (Connor J. Hansen, Esq.) who indicated that Defendant opposes the
17
      requested relief.
18

19    Dated: May 13, 2025.                     COPYCAT LEGAL PLLC
20                                             By: /s/ Lauren M. Hausman
                                               Lauren M. Hausman, Esq.
21
                                               By: /s/ Jonathan Alejandrino
                                               Jonathan Alejandrino, Esq. (pro hac vice)
22
                                               Attorneys for Plaintiff
23                                             Elizabeth Waterman

                                                 9
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 1                             CERTIFICATE OF SERVICE
 2          I hereby certify that on May 13, 2025, I electronically filed the foregoing
 3
      document with the Clerk of the Court using CM/ECF, which will electronically
 4
      serve all counsel of record.
 5
                                                             /s/ Lauren M. Hausman
 6
                                                             Lauren M. Hausman, Esq
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